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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  PECOS DIVISION

MARY CATHERINE “KATIE”                              §
SANCHEZ,                                            §
         Plaintiff,                                 §
                                                    §
                                                    §
v.                                                  §       No. 4:19-CV-00037-DC-DF
                                                    §
PRESIDIO COUNTY, TEXAS and                          §
FRANCES GARCIA in her individual                    §
capacity,                                           §
          Defendants.                               §


       NOTICE OF SETTLEMENT AND JOINT STIPULATION OF DISMISSAL

TO THE HONORABLE DAVID COUNTS, U.S. DISTRICT COURT JUDGE:

       Comes now Plaintiff and Defendants, who jointly notify the Court that his matter has

been settled, and jointly stipulate to the dismissal of this action, with prejudice, in accordance

with Rule 41(a)(l)(A)(ii) of the Federal Rules of Civil Procedure, each party to bear his, her, or

its own costs.

                                             Respectfully submitted,

                                     By:

                                             /s/ John A. Wenke
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                                             And,
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                            CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing pleading was electronically filed
with the clerk for the U.S. District Court, Western District of Texas, using the electronic case
filing system of the court, and the electronic case filing system sent a “Notice of Electronic
Filing” to counsel of record, who have consented in writing to accept this Notice as service of
this document by electronic means.

                                            /s/ John A. Wenke
                                            __________________________________
                                            JOHN A. WENKE




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